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  8                       UNITED STATES DISTRICT COURT
  9                     SOUTHERN DISTRICT OF CALIFORNIA
 10
       KIM ALLEN, LAINIE RIDEOUT and                Case No. 12-cv-00376-BAS-JLB
 11    KATHLEEN HAIRSTON, on behalf
       of themselves, all others similarly          ORDER:
 12    situated, and the general public,
                                                    (1) GRANTING JOINT MOTION
 13                                  Plaintiffs,    FOR PRELIMINARY
                                                    APPROVAL OF CLASS ACTION
 14           v.                                    SETTLEMENT;
 15    SIMILASAN CORPORATION,                       (2) CONDITIONALLY
                                                    APPROVING THE
 16                                Defendant.       SETTLEMENT CLASS;
 17                                                 (3) SETTING HEARING ON
                                                    FINAL APPROVAL OF
 18                                                 SETTLMENT
 19
 20

 21

 22

 23          Plaintiffs Lainie Rideout and Kathleen Hairston and Defendant Similasan
 24   Corporation (the “Parties”) have entered into a Settlement Agreement to resolve this
 25   Class Action litigation. For the reasons discussed below, the Court GRANTS the
 26   Parties’ Joint Motion (ECF No. 257) and preliminarily approves the Settlement
 27   Agreement. The Court sets the matter for Final Hearing on August 7, 2017 at 10:30
 28   a.m.

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  1   I.     BACKGROUND
  2          Plaintiffs filed a class action Complaint on behalf of a California and Florida
  3   class1, alleging that Similasan engaged in false or deceptive labeling of its
  4   homeopathic products. (ECF No. 58, Third Amended Complaint (“TAC”).)
  5          The Court granted Plaintiffs’ motion for class certification, certifying two
  6   classes: all purchasers of Similasan homeopathic products in California with respect
  7   to Nasal Allergy Relief or Sinus Relief (first class) and all purchasers of Similasan
  8   homeopathic products in California with respect to Allergy Eye Relief, Earache
  9   Relief, Dry Eye Relief and Pink Eye Relief (second class). (ECF No. 143.)
 10          The Court granted in part Similasan’s Motion for Summary Judgment, limiting
 11   the time period of recovery and dismissing the claims for injunctive relief. (ECF Nos.
 12   142, 247.) The Parties previously attempted a settlement that involved injunctive
 13   relief only, which was rejected by the Court. (ECF Nos. 202, 223.)
 14          After lengthy negotiations, motion practice and discovery, the Parties now
 15   submit a second Joint Motion for Preliminary Approval of Class Settlement. (ECF
 16   No. 257.)
 17   II.    PROPOSED SETTLEMENT
 18          A.     The Settlement Agreement
 19          The Parties propose that this Court certify as a class:
 20
             [All] purchasers of all Similasan Corporation homeopathic Products
 21          nationwide for personal or household use and not for resale, as listed in
 22          Exhibit A to this Agreement, from February 10, 2008 to the present.

 23   Settlement Agreement § 2.6.2
 24          Thus, the proposed class expands the class beyond the originally certified class
 25

 26   1
       Plaintiff Allen withdrew as a named plaintiff and, as she was the only named plaintiff from
 27   Florida, Plaintiffs ultimately dismissed claims involving the Florida class. (ECF No. 69.)

 28   2
       The Settlement Agreement is attached to the Declaration of Deborah Dixon (“Dixon Decl.”)
      (ECF No. 257-2) as Exhibit 1 (ECF No. 257-4).
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  1   to include all purchasers nationwide, instead of just in California, and expands the
  2   products beyond the original nasal, sinus, eye and ear relief to a wide swath of
  3   Similasan homeopathic products. See Exhibit A to the Settlement Agreement (ECF
  4   No. 257-4).
  5           Similasan will establish a Fund of $700,000. (Settlement Agreement § 5.1.2.)
  6   Class members may submit a claim form with a declaration that they purchased a class
  7   product that did not provide any relief. (Settlement Agreement § 6.2.) Alternatively,
  8   class members may submit a proof of purchase for each class product purchased. Id.
  9   Claimants without a proof of purchase are limited to one claim. Claimants with a
 10   valid proof of purchase may submit a claim for each class product purchased. Id.
 11           The payment of the costs of notice, administration and distribution of the
 12   settlement, attorneys’ fees, expenses and representative award will be paid from the
 13   fund.     (Settlement Agreement §§ 7.2.3, 7.3.3.)         Class counsel will request
 14   reimbursement for expenses and up to 25% of the fund for attorneys’ fees. (Settlement
 15   Agreement § 5.1.4.) Counsel will also request $2500 each or $5000 total for the
 16   representative plaintiffs. (Settlement Agreement § 5.1.3.)
 17           Claimants submitting a proof of purchase are entitled to full repayment of their
 18   purchase price. Claimants submitting a declaration are entitled to reimbursement,
 19   which counsel estimates will be at least $3.50. (Dixon Decl. ¶ 30.) This amount
 20   represents approximately 50% of the average retail price of each Class Product.
 21   (Declaration of Michele Gillette, ECF No. 257-6 (“Gillette Decl.”) ¶7.) If there are
 22   any remaining amounts in the settlement fund, after payment of claims, costs and
 23   attorneys’ fees, these amounts will be distributed on a pro rata basis to class members
 24   who have made a claim. (Settlement Agreement § 5.1.5.)
 25           In addition to the monetary consideration for the Settlement, Similasan has also
 26   agreed to make label changes to its products, providing more information to future
 27   purchasers of the products, something the Plaintiffs sought at the outset. (Settlement
 28   Agreement § 5.2.)

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  1           In return for these benefits, all class members will release all claims arising
  2   from the allegations in the operative complaint concerning the class products.
  3   (Settlement Agreement § 8.) Class members will not waive any right to pursue
  4   personal injury claims or to redress their claims, if any, with any governmental agency.
  5   (Id.)
  6           B.    Notice
  7           The Settlement Agreement proposes posting notice on a Settlement website,
  8   providing the required CAFA notice to state Attorneys General and United States
  9   Attorneys, submitting online advertising on Facebook targeted to reach likely
 10   homeopathy users (10 million impressions), publishing a press release on PR
 11   Newswire’s website and publishing notice four times in the “San Diego Union-
 12   Tribune” newspaper. (Settlement Agreement §§ 7.2, 7.3.)
 13   III.    ANALYSIS
 14           The Ninth Circuit maintains a “strong judicial policy” that favors the settlement
 15   of class actions. Class Plaintiffs v. City of Seattle, 955 F.2d 1268, 1276 (9th Cir. 1992).
 16   However, Federal Rule of Civil Procedure 23(e) first “require[s] the district court to
 17   determine whether a proposed settlement is fundamentally fair, adequate, and
 18   reasonable.” In re Mego Fin. Corp. Sec. Litig., 213 F.3d 454, 458 (9th Cir. 2000)
 19   (citing Hanlon v. Chrysler Corp., 150 F.3d 1011, 1026 (9th Cir. 1998)). Where the
 20   “parties reach a settlement agreement prior to class certification, courts must peruse
 21   the proposed compromise to ratify both the propriety of the certification and the
 22   fairness of the settlement.” Staton v. Boeing Co., 327 F.3d 938, 952 (9th Cir. 2003).
 23   In these situations, settlement approval “requires a higher standard of fairness and a
 24   more probing inquiry than may normally be required under Rule 23(e).” Dennis v.
 25   Kellogg Co., 697 F.3d 858, 864 (9th Cir. 2012) (internal quotation marks omitted).
 26           A.    Class Certification
 27           Before granting preliminary approval of a class-action settlement, the Court
 28   must first determine whether the proposed class can be certified. Amchem Prods., Inc.

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  1   v. Windsor, 521 U.S. 591, 620 (1997) (indicating that a district court must apply
  2   “undiluted, even heightened, attention [to class certification] in the settlement
  3   context” in order to protect absentees). The class action is “an exception to the usual
  4   rule that litigation is conducted by and on behalf of the individual named parties only.”
  5   Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 348 (2011) (quoting Califano v.
  6   Yamasaki, 442 U.S. 682, 700–01 (1979)).
  7         In order to justify a departure from that rule, “a class representative must be part
  8   of the class and ‘possess the same interest and suffer the same injury’ as the class
  9   members.” Id. (citing E. Tex. Motor Freight Sys., Inc. v. Rodriguez, 431 U.S. 395, 403
 10   (1977)). In this regard, Rule 23 contains two sets of class-certification requirements
 11   set forth in Rule 23(a) and (b). United Steel, Paper & Forestry, Rubber, Mfg. Energy,
 12   Allied Indus. & Serv. Workers Int’l Union v. ConocoPhillips Co., 593 F.3d 802, 806
 13   (9th Cir. 2010). “A court may certify a class if a plaintiff demonstrates that all of the
 14   prerequisites of Rule 23(a) have been met, and that at least one of the requirements of
 15   Rule 23(b) have been met.” Otsuka v. Polo Ralph Lauren Corp., 251 F.R.D. 439, 443
 16   (N.D. Cal. 2008).
 17         “Rule 23(a) provides four prerequisites that must be satisfied for class
 18   certification: (1) the class must be so numerous that joinder of all members is
 19   impracticable; (2) questions of law or fact exist that are common to the class; (3) the
 20   claims or defenses of the representative parties are typical of the claims or defenses of
 21   the class; and (4) the representative parties will fairly and adequately protect the
 22   interests of the class.” Otsuka, 251 F.R.D. at 443 (citing Fed. R. Civ. P. 23(a)). “A
 23   plaintiff must also establish that one or more of the grounds for maintaining the suit
 24   are met under Rule 23(b), including: (1) that there is a risk of substantial prejudice
 25   from separate actions; (2) that declaratory or injunctive relief benefitting the class as
 26   a whole would be appropriate; or (3) that common questions of law or fact
 27   predominate and the class action is superior to other available methods of
 28   adjudication.” Id. (citing Fed. R. Civ. P. 23(b)).

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  1          The Parties seek class certification under Rule 23(b)(3). In the context of a
  2   proposed settlement class, questions regarding the manageability of the case for trial
  3   are not considered. See Wright v. Linkus Enters., Inc., 259 F.R.D. 468, 474 (E.D. Cal.
  4   2009) (citing Amchem Prods., Inc., 521 U.S. at 620 (1997) (“Confronted with a
  5   request for settlement-only class certification, a district court need not inquire whether
  6   the case, if tried, would present intractable management problems . . . for the proposal
  7   is that there be no trial.”)).
  8          In this case, the Court previously found that both the requirements of Rule 23(a)
  9   and 23(b)(3) had been met. (ECF No. 143.) Expansion of the class to include all
 10   purchasers nationwide as well as purchasers of additional products does not change
 11   this analysis. The new class is more numerous than the originally certified one and
 12   the representation is equally adequate. Furthermore, Similasan’s conduct appears to
 13   be uniform across the United States as well as across the wide variety of products: it
 14   sold products bearing representations about the products’ effectiveness. As the Court
 15   previously found, given the uniformity of the efficacy representations, small
 16   differences in the labeling are insignificant. This new class still presents common
 17   questions of fact and law, the claims and defenses of the representative parties are
 18   equally typical and the common questions of law or fact predominate. Given the small
 19   cost of each product and the large number of purchasers, a class action is superior to
 20   other available methods of adjudication. Therefore, the Court finds certification of
 21   the proposed class is appropriate.
 22          B.     Fairness, Reasonableness, and Adequacy of Proposed Settlement
 23          In determining whether the proposed settlement is fair, reasonable, and
 24   adequate, “a district court must consider a number of factors, including: the strength
 25   of plaintiffs’ case; the risk, expense, complexity, and likely duration of further
 26   litigation; the amount offered in settlement; the extent of discovery completed, and
 27   the stage of proceedings; the experience and views of counsel; the presence of a
 28   governmental participant; and the reaction of the class members to the proposed

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  1   settlement.” Staton v. Boeing Co., 327 F.3d 938, 959 (9th Cir. 2003). The Court
  2   considers each of these factors below.
  3         1.      Strength of Plaintiff’s Case, and Risk of Further Litigation
  4         Defendant Similasan adamantly denies liability in this case. Furthermore, Class
  5   Counsel tried a nearly identical matter in the Central District of California, which
  6   resulted in a defense verdict. (Mem. P. & A. in Support of Joint Mot., ECF No. 257-
  7   1, p. 23.) These facts, coupled with the fact that the Court has already stricken
  8   injunctive relief from the action, have made plaintiffs’ counsel concerned about their
  9   ability to win any benefit for the class without the Settlement Agreement. (Id.)
 10         In addition, the litigation involves complex issues requiring extensive
 11   resources, expert testimony and a likely appeal, if the case goes to trial. See Nat’l
 12   Rural Telecommc’ns. Coop. v. DirecTV, Inc., 221 F.R.D. 523, 527 (C.D. Cal. 2004)
 13   (avoiding a trial and the subsequent appeals in a complex case strongly militates in
 14   favor of settlement rather than protracted and uncertain litigation).
 15         Thus, the Court finds this first factor weighs in favor of accepting the proposed
 16   settlement.
 17         2.      Consideration Offered
 18         Unlike the first proposed settlement agreement in this case, this Settlement
 19   Agreement provides more than just injunctive relief for the class. Although at this
 20   point it is difficult to assess how much each claimant will receive—since the number
 21   of claimants is still highly speculative—counsel estimates each claimant will receive
 22   a minimum of $3.50. (Dixon Decl. ¶30.) This is approximately 50% of the average
 23   cost of the product nationwide. (Gillette Decl. ¶7.) Since the Settlement Agreement
 24   provides for a pro rata distribution of the remaining amounts in the fund, after payment
 25   of expenses, attorneys’ fees and representative award, conceivably the amount each
 26   claimant receives could be more than the purchase price paid.
 27         Although Plaintiff and Class Members might be entitled to greater
 28   compensation if Plaintiffs’ allegations were proven true, this does not mean that the

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  1   settlement is inadequate. Linney v. Cellular Alaska P’ship, 151 F.3d 1234, 1242 (9th
  2   Cir. 1998). “[The] very essence of a settlement is a compromise, ‘a yielding of
  3   absolutes and an abandoning of highest hopes.’” Officers for Justice v. Civil Serv.
  4   Comm’n of the City & Cty. of San Francisco, 688 F.2d 615, 624 (9th Cir. 1982). At
  5   this point in the proceedings, the Court believes the consideration offered appears fair
  6   and reasonable.
  7         3.     Extent of Discovery Completed and Stage of Proceedings
  8         This case has been pending for five years. Both sides were well into trial
  9   preparations at the time of settlement. (Dixon Decl. ¶14; Gillette Decl. ¶4.)
 10         Plaintiffs engaged in substantial discovery and negotiations, reviewing
 11   Similasan’s financial information, marketing literature and website, various products’
 12   labeling and packaging, FDCA and Sherman Act laws, rules and regulations, FDA
 13   guidance on homeopathic drugs and FTC standards. (Mem. P. & A. in Support of
 14   Joint Mot., ECF No. 257-1, pp. 25–26; Declaration of Ronald Marron, ECF No. 257-
 15   6 ¶28.) The parties have briefed, and the Court has ruled on, three motions to dismiss,
 16   two motions for summary judgment, a motion for class certification and a motion to
 17   decertify the class.    This factor weighs in favor of accepting the Settlement
 18   Agreement.
 19         4.     Experience and Views of Counsel
 20         Generally, “[t]he recommendations of plaintiffs’ counsel should be given a
 21   presumption of reasonableness.” Boyd v. Bechtel Corp., 485 F. Supp. 610, 622 (N.D.
 22   Cal. 1979); cf. Stull v. Baker 410 F. Supp. 1326, 1332 (S.D.N.Y. 1976) (holding that
 23   the court should consider the recommendation of counsel, and weight it according to
 24   counsel’s caliber and experience).     Here, due especially to the experience and
 25   knowledge of Class Counsel, their recommendations are presumed to be reasonable,
 26   and this factor accordingly favors approval.
 27         5.     Governmental Participant
 28         There is no governmental participant in this case, so this factor is neutral.

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  1         6.      Reaction of the Class to the Proposed Settlement
  2         Since notice has not yet been served, it would be premature to evaluate this
  3   factor at this point in the proceedings.
  4         C.      Fairness Hearing and Required Notice to Parties
  5         1.      Notice Requirements
  6         Under Rule 23(c)(2)(B), “the court must direct to class members the best notice
  7   that is practicable under the circumstances, including individual notice to all members
  8   who can be identified through reasonable effort.” The Rule directs:
  9
            The notice must clearly and concisely state in plain, easily understood
 10         language: (i) the nature of the action; (ii) the definition of the class
 11         certified; (iii) the class claims, issues, or defenses; (iv) that a class
            member may enter an appearance through an attorney if the member so
 12         desires; (v) that the court will exclude from the class any member who
 13         requests exclusion; (vi) the time and manner for requesting exclusion; and
            (vii) the binding effect of a class judgment on members under Rule
 14         23(c)(3).
 15         Fed. R. Civ. P. 23(c)(2)(B). “[T]he mechanics of the notice process are left to
 16   the discretion of the court subject only to the broad ‘reasonableness’ standards
 17   imposed by due process.” Grunin v. Int’l House of Pancakes, 513 F.2d 114, 120 (8th
 18   Cir. 1975).
 19         In this case, individual class notice is not possible. Similasan does not sell its
 20   products directly to class members but only to third party retailers and distributors
 21   who sell the products on store shelves. Thus, notice by publication is the best possible
 22   notice under the circumstances.
 23         The Court has reviewed the proposed avenues of notice, as well as the proposed
 24   verbiage and is satisfied that it complies with Rule 23(c)(2)(B).
 25         2.      Fairness Hearing
 26         Fed. R. Civ. P. Rule 23(e)(2), requires that “[i]f the proposal would bind class
 27   members, the court may approve it only after a hearing and on finding that it is fair,
 28   reasonable, and adequate.” “The purpose of a fairness hearing is to provide the court

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   1   with sufficient evidence for it to make an informed decision relating to the fairness of
   2   the proposed settlement.” UAW v. Gen. Motors Corp., 235 F.R.D. 383, 386 (E.D.
   3   Mich. 2006). A fairness hearing need not have all the procedures and protections of
   4   a full trial; it is a forum for intervenors to voice their objections and for the fairness of
   5   the settlement to be determined, and a court is within its discretion to limit the hearing
   6   as necessary to meet those objectives. UAW, 235 F.R.D. at 386; Tenn. Ass’n of Health
   7   Maint. Org., Inc. v. Grier, 262 F.3d 559, 567 (6th Cir. 2001).
   8          Here, in their Settlement Agreement, the Parties agree to a framework for Class
   9   Members who either wish to opt-out or to object to the proposed Settlement.
  10   (Settlement § 10.) The Court finds the framework is fair and appropriate and
  11   accordingly sets a Final Approval Hearing that will give any intervenors or objectors
  12   a chance to be heard.
  13   III.   CONCLUSION & ORDER
  14          In light of the foregoing, the Court GRANTS the Parties’ joint motion for
  15   preliminary approval of the class action settlement (ECF No. 257) and hereby
  16   ORDERS the following:
  17          1. Pursuant to Rule 23 of the Federal Rules of Civil Procedure, the Court
  18             hereby conditionally certifies a class for settlement purposes only.
  19          2. The class shall consist of:
  20
              All purchasers of all Similasan Corporation homeopathic Products
  21          nationwide for personal or household use and not for resale, as listed in
  22          Exhibit A to this Agreement, from February 10, 2008 to the present.
              Excluded from the Class are governmental entities, Defendant, any entity
  23          in which Defendant has a controlling interest, its employees, officers,
  24          directors, legal representatives, heirs, successors and wholly or partly
              owned subsidiaries or affiliated companies, including all parent
  25          companies, and their employees; and the judicial officers, their
  26          immediate family members and court staff assigned to this case.

  27          3. The Court hereby appoints Kathleen Hairston and Lainie Rideout as Class
  28             Representatives.

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   1        4. The Court hereby appoints the Law Offices of Ronald A. Marron, APLC,
   2           Gomez Trial Attorneys, and Law Offices of Dean Goetz as Class Counsel to
   3           represent the Class.
   4        5. The Court hereby preliminarily approves the Settlement Agreement and the
   5           terms and conditions of Settlement set forth therein, subject to further
   6           consideration at a Final Approval Hearing.
   7        6. The Court will hold a Final Approval Hearing on August 7 at 10:30 a.m., in
   8           the Courtroom of the Honorable Cynthia Bashant, United States District
   9           Court for the Southern District of California, Courtroom 4B (4th Floor –
  10           Schwartz), 221 West Broadway, San Diego, CA 92101, for the following
  11           purposes:
  12           a. Finally determining whether the Class meets all applicable requirements
  13              of Rule 23 of the Federal Rules of Civil Procedure and whether the Class
  14              should be certified for the purposes of effectuating the Settlement,
  15           b. finally determining whether the proposed Settlement of the case on the
  16              terms and conditions provided for in the Settlement Agreement is fair,
  17              reasonable, and adequate and should be approved and ordered by the
  18              Court,
  19           c. considering the application of Class Counsel for an award of attorneys’
  20              fees and costs, as provided for in the Settlement Agreement;
  21           d. considering the application of the named Plaintiffs for a class
  22              representative incentive award, as provided for in the Settlement
  23              Agreement;
  24           e. considering whether the release by the Class Members of the Released
  25              Claims as set forth in the Settlement Agreement should be provided; and
  26           f. ruling upon such other matters as the Court may deem just and
  27              appropriate.
  28        7. The Court may adjourn the Final Approval Hearing and later reconvene such

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   1           hearing without further notice to the Class Members.
   2        8. Before the Final Approval Hearing, Defendant shall file with the Clerk of
   3           the Court proof of its compliance with the notice provisions of the Class
   4           Action Fairness Act of 2005 (“CAFA”), 28 U.S.C. § 1715.
   5        9. In compliance with Fed. R. Civ. P. 23(b)(3), the Class Members will be
   6           permitted to exclude themselves from the class. Requests for exclusion must
   7           be submitted to the Clerk of the Court postmarked or delivered no later than
   8           thirty calendar days before the Final Approval Hearing date. Requests for
   9           exclusion purportedly filed on behalf of groups of person are prohibited and
  10           will be deemed void.
  11        10. Briefs for the Final Approval Hearing must be filed with the Clerk of the
  12           Court no later than thirty calendar days before the Final Approval Hearing.
  13        11. Class Members who desire to object to the fairness of the Settlement must
  14           file and serve written objections with the Clerk of this Court no later than
  15           thirty calendar days before the Final Approval Hearing.
  16        12. Objections must be timely, in writing, signed and dated by the objector (or
  17           his or her attorney, if applicable), must reference the name and case number
  18           of the litigation and must contain the following information: (1) the
  19           objector’s name, address and telephone number, (2) the name, address and
  20           telephone number of any attorney for the objector, (3) the factual basis and
  21           legal grounds for the objection, and (4) the payment terms of any fee
  22           agreement between the objector and the objector’s attorney with respect to
  23           the objection.
  24        13. Objections that do not contain all required information or that are received
  25           after the Objection Deadline will not be considered at the Final Approval
  26           Hearing. Objections purportedly filed on behalf of groups of persons are
  27           prohibited and will be deemed void.
  28        14. If a Class Member hires an attorney to represent him or her in support of a

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   1           timely and properly submitted objection, and the attorney wishes to appear
   2           at the Final Approval Hearing, the attorney must: (1) file a notice of intention
   3           to appear and participate in the Final Approval Hearing with the Clerk of the
   4           Court at least thirty calendar days before the Final Approval Hearing, and
   5           (2) mail copies of the entry of appearance and the notice of intention to
   6           appear and participate in the Final Approval Hearing to Counsel for
   7           Defendant and Class Counsel, postmarked no later than thirty calendar days
   8           before the Final Approval Hearing.
   9        15. Any Class Member who does not file a valid and timely objection to the
  10           settlement shall be barred from seeking review of the settlement by appeal
  11           or otherwise.
  12        16. Any response by the Plaintiff to the objections of Class Members must be
  13           filed with the Clerk of the Court no later than fourteen days prior to the Final
  14           Approval Hearing date. Any reply to this response must be filed and served
  15           at least seven days prior to the Final Approval Hearing date.
  16        17. Class Counsel shall file with the Clerk of this Court and serve their
  17           application for attorney’s fees, costs, and expenses at least forty-five days
  18           before the Final Approval Hearing. After filing, the Application for fees and
  19           costs, and incentive award shall be posted on the Settlement Website for
  20           review by Class Members.
  21        18. The Court approves the form and procedure for disseminating Notice of the
  22           proposed Settlement to the Class. The Court finds this is the best notice
  23           practicable under the circumstances.
  24        19. Within thirty days after the date of entry of this Order, Defendant shall
  25           disseminate the Class Notice in the form attached to the Settlement
  26           Agreement as Exhibit B. The manner and form of such dissemination shall
  27           be as set forth in the Notice Plan attached as Exhibit E to the Settlement
  28           Agreement.

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   1        20. The Court approves Classaura LLC (“Classaura”) to serve as the Court-
   2           Appointed Class Action Administrator for this Settlement. The Class Action
   3           Administrator shall disseminate Class Notice and supervise and carry out
   4           the Notice Plan, and other administrative functions, and shall respond to
   5           Class member inquiries.
   6        21. The Court directs the Class Action Administrator to establish a Class
   7           Settlement Website, making available copies of this Order, Class Notice, the
   8           Settlement Agreement and all exhibits thereto, a toll-free hotline, and such
   9           other information as may be of assistance to Class members or required
  10           under the Settlement Agreement. The Class Settlement Website shall be
  11           made available to Class Members no later than fifteen calendar days after
  12           the date of this Order and continuously thereafter until thirty days after the
  13           Final Approval Hearing.
  14        22. As set forth in the Agreement, all fees, costs and expenses of the Notice and
  15           Claims Administrator related to this Settlement will be paid out of the
  16           Settlement Amount, which shall be used for costs and expenses associated
  17           with the Class Notice, creating and maintaining the Class Settlement
  18           Website, and all other Class Notice expenses. The Parties shall jointly retain
  19           the services of Classaura as their Class Action Administrator.
  20        23. No later than fourteen days prior to the Final Approval Hearing date,
  21           Similasan, through the Class Action Administrator, shall file an affidavit and
  22           serve a copy on Class Counsel, attesting that notice was disseminated as
  23           required by the terms of the Notice Plan or as ordered by the Court. This
  24           affidavit shall also inform the Court of any requests for exclusion from the
  25           Class, objections or other reactions from Class Members received by the
  26           Class Administrator.
  27   //
  28   //

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   1   //
   2   //
   3        24. The Parties are further ordered to carry out the Settlement Agreement in the
   4           manner provided in the Settlement Agreement.
   5        IT IS SO ORDERED.
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   7   DATED: April 12, 2017
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